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                    Exhibit 6
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Tau 2 LWIR Camera Cores | FLIR Systems                                                                                                                                       8/23/17, 3)07 AM


                                                                                                                               EXPLORE (HTTP://WWW.FLIR.COM/HOME) | PRODUCTS (/HOME) |

                                                                                                                           Questions? Fill out our info request form (/cores/display/?id=53135)




    Cores & Components                        Tau® 2 Uncooled Cores
    (http://www.ﬂir.com/cvs/cores/index.cfm)

    LWIR Camera Cores
                                                                                                                Lens Options
    (http://www.ﬂir.com/cvs/cores/view/?
    id=51981)                                                                                                   7.5mm
       Boson                                                                                                    9mm
       (http://ﬂir.com/cores/boson/)                                                                            13mm
       Lepton                                                                                                   19mm
       (http://www.ﬂir.com/cores/content/?                                                                      25mm
       id=66257)                                                                                                35mm
       Muon                                                                                                     50mm
                                                                  Tau with a 19mm Lens                                                                  Tau with 19mm lens
       (http://www.ﬂir.com/cvs/cores/view/?                                                                     60mm                                      Mouse over lens options
                                                               Click to see more lens options
                                                                                                                                                           to see image change
       id=64979)                                       (http://www.ﬂir.com/cvs/cores/view/?id=52263)            100mm
       Quark 2
       (http://www.ﬂir.com/cvs/cores/view/?    Description        New features              Export     Specs      Optics       DRI       Applications       Documents               Videos
       id=51266)
       Tau 2                                   Speciﬁcations
       (http://www.ﬂir.com/cvs/cores/view/?
       id=54717)                                Overview                                                         Tau2 640                                       Tau2 336
       PathFindIR II
       (http://www.ﬂir.com/cores/content/?      Thermal Imager                                                                Uncooled VOx Microbolometer
       id=62945)
                                                FPA / Digital Video Display Formats                              640 × 512                                      336 × 256
    MWIR Camera Cores
    (http://www.ﬂir.com/cvs/cores/view/?        Analog Video Display Formats                                                640 × 480 (NTSC); 640 × 512 (PAL)1
    id=51956)
                                                Pixel Pitch                                                                                17 μm
    SWIR Camera Cores
    (http://www.ﬂir.com/cvs/cores/view/?        Spectral Band                                                                          7.5 - 13.5 μm
    id=54502)
                                                Full Frame Rates                                                30 Hz (NTSC)                                30/60 Hz (NTSC)
    Lasers & Trackers                                                                                            25 Hz (PAL)                                 25/50 Hz (PAL)
    (http://www.ﬂir.com/cvs/cores/view/?
    id=52626)                                   Exportable Frame Rates                                                            7.5 Hz NTSC; 8.3 Hz PAL

    Pan Tilt Systems (/mcs/view/?               Sensitivity (NEdT) @ f/1                                                            Industrial: <30mK
    id=53484)                                                                                                                     Performance: <50 mK
    ROICs & Components                                                                                                             Commercial: <60mK
    (http://www.ﬂir.com/cvs/cores/view/?
                                                Scene Range (High Gain)                                        -25°C to +135°C                              -25°C to +100°C
    id=51859)

    Resources                                   Scene Range (Low Gain)                                                                -40°C to +550°C
    (http://www.ﬂir.com/cvs/cores/view/?
                                                Time to Image                                                     <5.0 sec                                       <4.0 sec
    id=51878)

    Knowledge Base / FAQ                        Factory Optimized Video                                                                      Yes
    (http://www.ﬂir.com/cvs/cores/knowledgebase/)
                                         Physical Attributes                                                     Tau2 640                                       Tau2 336
    Contact Us / Request Info
    (http://www.ﬂir.com/cvs/cores/view/? Size (w/o lens)                                                  1.75" x 1.75" x 1.18"/ 1.5" x 1.5" x 1.18" (Compact and Shutterless)
    id=56376)


                                                Lensed & Lensless Conﬁgurations                                                              Yes
                                                Available
      Share FLIR
                                                Precision Mounting Holes (M2x0.4) on                                                         Yes
        Share on Facebook                       3 sides (2 per side)

                                                Sealable Bulkhead Mounting Feature                                                           Yes
        Tweet this                              on Lens Barrel (M29×1.0), WFOV Only

        Email this                              Radiometric Features                                             Tau2 640                                       Tau2 336



http://www.flir.com/cores/display/?id=54717&pi_ad_id=138565408952&gclid=EAIaIQobChMI7Mvrvo3t1QIViGF-Ch3GtAgZEAAYASAAEgKPDPD_BwE                                                       Page 1 of 5
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Tau 2 LWIR Camera Cores | FLIR Systems                                                                                                                       8/23/17, 3)07 AM



                                              Isotherms                                  See Product Spec page 34 Section 3.3.3.1 (http://cvs.ﬂir.com/Tau2-product-spec)
         Share & bookmark
      (http://www.addthis.com/bookmark.php?   Spot Meter                                                     Temperatures measured in central 4×4
      v=250&pubid=webﬂir)
                                              Advanced Radiometry                        Improved accuracy, moveable spot meter, image metric data, T-Linear (digital
                                                                                         output)
                                                                                         AR requires a separate calibration that must be performed during camera
                                                                                         manufacture. The AR capability is captured in the camera part number. An
      Tau Feature Comparison                                                             additional fee is charged for this feature.
      Learn more about the
                                              Image Processing & Display                              Tau2 640                                   Tau2 336
      evolution of features in FLIR's
                                              Controls
      Tau LWIR uncooled camera
      cores.                                  NTSC/PAL (ﬁeld switchable)                                                       Yes
      Check out the Comparison
      Chart                                   Image Optimization                                                               Yes
      (http://www.ﬂir.com/cvs/cores/view/?
                                              Digital Detail Enhancement                                                       Yes
      id=60983)
                                              Invert/Revert (analog and 8-bit digital)                                         Yes

                                              Polarity Control (black hot/white hot)                                           Yes

                                              Color & Monochrome Palettes (LUTs)                                               Yes

                                              Continuous Digital Zoom                                    2x-8x                                      2x- 4x

                                              Symbology (256 gray & 256 color)                              Yes, single-pixel resolution for all models

                                              Digital Video                                           Tau2 640                                   Tau2 336

                                              LVDS (14-bit or 8-bit)                                                           Yes

                                              CMOS (14-bit or 8-bit)                                                           Yes

                                              BT.656 (8-bit)                                                                   Yes

                                              Camera Link (Expansion Bus Accessory                                             Yes
                                              Module)

                                              Slow Video Option (factory conﬁgured)                                            Yes

                                              Interfacing                                             Tau2 640                                   Tau2 336

                                              Primary Electrical Connector                                                50-pin Hirose

                                              Input Supply Voltage                                                        4.0 - 6.0 VDC

                                              Power Dissipation, steady state (max                      <1.2 W                                     ~1.0 W
                                              2.5W during shutter event of
                                              approximately 0.5 seconds)

                                              Flat-Field Correction (FFC) Duration                                           <0.5 sec

                                              Power Reduction Switch (disables                                                 Yes
                                              analog video)

                                              RS-232 Compatible Communication                                        57,600 & 921,600 baud

                                              External Sync Input/Output                                                       Yes

                                              Discrete I/O Controls Available                                      Yes (10-camera minimum)

                                              Settable Splash Screens                                              Yes (10-camera minimum)

                                              User Conﬁgurability via SDK & GUI                                                Yes

                                              Dynamic Range Switching                                                          Yes

                                              Environmental                                           Tau2 640                                   Tau2 336

                                              Operating Temperature Range                    -40°C to +80°C (Industrial & Performance) -20°C to +65°C (Commercial)



http://www.flir.com/cores/display/?id=54717&pi_ad_id=138565408952&gclid=EAIaIQobChMI7Mvrvo3t1QIViGF-Ch3GtAgZEAAYASAAEgKPDPD_BwE                                   Page 2 of 5
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                                                      Non-Operating Temperature Range                                                         -50°C to +85°C

                                                      Temperature Shock                                                                          5°/min

                                                      Operational Altitude                                                                     +40,000 feet

                                                      Humidity                                                                        5% - 95% non-condensing

                                                      Vibration                                                                       4.3g three axis, 8 hr each

                                                      Shock                                                                  200g shock pulse w/ 11 msec sawtooth

                                                      ROHS                                                                                      Compliant


                                                         1. Tau2 336 analog video is upsampled & interpolated to 640 × 480 for NTSC, and to 640 × 512 for PALback




 ELECTRICAL / MECHANICAL                          PERSONAL VISION SYSTEMS                          SECURITY (/security/content/?                          ABOUT FLIR (/aboutFLIR/)

 (/instruments/electrical/content/?               (/hunting-outdoor/content/?                      id=67507)                                              About FLIR (/aboutFLIR/)
                                                                                                                                                          The World's Sixth Sense (/wss/)
 id=66136)                                        id=66928)
                                                                                                                                                          Investors (/investor/)
                                                                                                   HD WiFi Security Camera (/ﬂirsecure/hd-wiﬁ-
                                                                                                                                                          Supply Chain Information (/corporate/display/?
                                                                                                   security/)
 FLIR TG165 (/instruments/tg165)                  FLIR ONE (/ﬂirone)                                                                                      id=61617)
                                                                                                   FLIR FX (/ﬂirfx/)
 FLIR C-Series (/instruments/c-series)            FLIR FX (/ﬂirfx/content/?id=65477)                                                                      Reseller and Customer Information
                                                                                                   Lorex (https://www.lorextechnology.com/)
 FLIR E4, E5, E6 & E8 (/instruments/ex-series)    FLIR Scout Series (/hunting-outdoor/content/?                                                           (/corporate/display/?id=83440)
                                                                                                   FLIR Analog (/security/display/?id=69286)
 FLIR E40, E50 & E60 (/instruments/exx-series)    id=66928)                                                                                               Contact Sales (/corporate/display/?id=55426)
                                                                                                   FLIR MPX™ (/security/display/?id=69304)
 FLIR E75, E85 & E95 (/instruments/content/?      FLIR ThermoSight R-Series (/thermoSightR-                                                               Newsroom
                                                                                                   FLIR IP (/security/display/?id=69284)
 id=82350)                                        Series/)                                                                                                (http://investors.ﬂir.com/releases.cfm)
                                                                                                   FLIR Thermal (/security/display/?id=44280)
 FLIR T420, T440 & T460 (/instruments/display/?                                                                                                           Careers (/careers/?id=64835)
 id=62960)
 FLIR T500-Series (/t500Series/)                  RESEARCH & DEVELOPMENT                                                                                  SUPPORT (/corporate/display/?
 FLIR T600, T620, T640 & T660
                                                                                                   SURVEILLANCE
 (/instruments/display/?id=62960)
                                                  (/science/content/?id=66897)                                                                            id=60235)
                                                                                                   (/surveillance/content/?id=63482)
 FLIR T1K (/instruments/content/?id=70502)
 Test & Measurement Tools                         Industrial R&D (/science/content/?id=66897)                                                             Product Support (/corporate/display/?
                                                                                                   Airborne Systems (/surveillance/display/?
 (/instruments/display/?id=61313)                 Academics & Research (/science/content/?                                                                id=60235)
                                                                                                   id=64505)
 IR Windows (/instruments/display/?id=50386)      id=67274)                                                                                               Online Orders
                                                                                                   Maritime Systems (/surveillance/display/?
                                                  Non-Destructive Testing (NDT) / Materials                                                               (https://cart.ﬂir.com/DRHM/store?
                                                                                                   id=64627)
                                                  Testing (/science/content/?id=67277)                                                                    Action=help&SiteID=ﬂirsys&Locale=en_US)
                                                                                                   Land Systems (/surveillance/display/?
 BUILDING                                         Defense & Aerospace (/science/content/?                                                                 Product Registration (/corporate/display/?
                                                                                                   id=64697)
                                                  id=67307)                                                                                               id=57892)
 (/instruments/building/content/?                                                                  Tactical Vision (/surveillance/display/?
                                                                                                                                                          Warranty Information (/corporate/display/?
                                                                                                   id=64697)
 id=65320)                                                                                                                                                id=57893)
                                                                                                   Unmanned Systems (/surveillance/display/?
                                                  MARINE (/marine/content/?id=66311)                                                                      Product Manuals (/corporate/display/?
                                                                                                   id=64697)
                                                                                                                                                          id=53132)
 FLIR C-Series (/instruments/c-series)
                                                                                                                                                          Training (http://www.infraredtraining.com/)
 FLIR E4, E5, E6 & E8 (/instruments/ex-series)    FLIR First Mate II (/marine/display/?id=51292)
 FLIR E40bx, E50bx & E60bx (/instruments/exx-     FLIR Ocean Scout (/marine/display/?id=67126)     CBRNE DETECTION
 series)
                                                                                                                                                          FOLLOW US
                                                  FLIR BHM-Series (/marine/display/?id=60445)
 FLIR E75, E85 & E95 (/instruments/content/?
                                                                                                   (/threatdetection/content/?id=63317)
                                                  FLIR MD-Series (/marine/display/?id=59356)
 id=82350)                                        FLIR M-Series (/marine/display/?id=50777)
 FLIR T420bx, T440bx, T620bx & T640bx             FLIR M400 (/marine/display/?id=67146)            Chemical Detection (/threatdetection/display/?
 (/instruments/display/?id=62960)                 FLIR Voyager (/marine/display/?id=50773)         id=65351)
 FLIR T500-Series (/t500Series/)                  FLIR MV-Series (/marine/display/?id=59700)       Radiation Detection (/threatdetection/display/?
 FLIR T1K (/instruments/content/?id=70502)        Raymarine (http://www.raymarine.com)             id=65349)
 Test & Measurement Tools                                                                          Biological Detection (/threatdetection/display/?
 (/instruments/display/?id=61313)                 LAW ENFORCEMENT (/law-                           id=63346)
                                                                                                   Explosives Detection
                                                  enforcement/content/?id=66956)                   (/threatdetection/display/?id=65350)




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                                                FLIR LS-Series (/law-enforcement/display/?
 TEST & MEASUREMENT                             id=57065)                                        OEM CORES & COMPONENTS

 (/instruments/display/?id=61313)               FLIR H-Series (/law-enforcement/display/?        (/cores/content/?id=53463)
                                                id=50691)
                                                FLIR BHS-Series (/law-enforcement/display/?
 FLIR DM284 Imaging Multimeter                                                                   LWIR Uncooled Cores (/cores/display/?
                                                id=50843)
 (/instruments/content/?id=75295)                                                                id=51981)
 FLIR TG165 Spot Thermal Camera                                                                  MWIR Cooled Cores (/cores/display/?id=51956)
                                                FIREFIGHTING (/ﬁre/content/?
 (/instruments/content/?id=64755)                                                                SWIR Cores (/cores/display/?id=54502)
 FLIR TG130 Spot Thermal Camera                 id=69019)                                        ROICs & Components (/cores/display/?
 (/instruments/content/?id=72831 )                                                               id=51859)
 FLIR MR160 Imaging Moisture Meter                                                               Laser Components & Systems (/cores/display/?
                                                FLIR K2 TIC with MSX™ (/ﬁre/display/?
 (/instruments/content/?id=69038)                                                                id=52626)
                                                id=68967)
 FLIR MR176 Imaging Moisture Meter                                                               Pan-Tilt Systems (/pan-tilts/display/?id=53484)
                                                FLIR K33 & K53 (/ﬁre/content/?id=74907)
 (/instruments/mr176)
                                                FLIR K45, K55 & K65 TICs with FSX™
 FLIR MR60 Imaging Moisture Meter
                                                (/ﬁre/display/?id=60239)
 (/instruments/mr60)                                                                             sUAS (/suas/content/?id=70733)
                                                FLIR KF6 (/ﬁre/content/?id=74903)
 FLIR Flexible Clamp Meters
                                                FLIR M-Series (/ﬁre/content/?id=74906)           FLIR Duo (/suas/duo)
 (/instruments/display/?id=69146)
                                                                                                 FLIR Vue (/suas/content/?id=68335)
 FLIR DM92 Digital Multimeter
                                                                                                 FLIR Vue Pro (/suas/vuepro)
 (/instruments/display/?id=65791)
                                                ITS & TRAFFIC (/traﬃc/content/?                  FLIR Vue Pro R (/suas/vuepror)
 FLIR DM93 Digital Multimeter
 (/instruments/display/?id=61256)               id=66601)
 FLIR CM82 Power Clamp
 (/instruments/display/?id=65798)
                                                Thermal Sensors (/traﬃc/display/?id=62099)
 FLIR CM83 Power Clamp
                                                Vehicle & Pedestrian Sensors (/traﬃc/display/?
 (/instruments/display/?id=61257)
                                                id=62100)
 FLIR CM85 Power Clamp
                                                Video Detection Boards (/traﬃc/display/?
 (/instruments/display/?id=65802)
                                                id=62101)
 FLIR CM78 Clamp with IR Thermometer
                                                Software (/traﬃc/display/?id=62102)
 (/instruments/display/?id=61258)
 FLIR VP50 Voltage Detector
 (/instruments/display/?id=61255)
 FLIR IM75 Insulation & DMM Combo
                                                MACHINE VISION CAMERAS
 (/instruments/display/?id=65760)               (Formerly Point Grey)
 FLIR MR77 Moisture Meter
 (/instruments/display/?id=61161)
                                                (https://www.ptgrey.com)
 FLIR VS70 Videoscope (/instruments/display/?
 id=61259)                                      Grasshopper3
 Airtec (/instruments/display/?id=57067)        (https://www.ptgrey.com/grasshopper3-usb3-
 IntelliRock (/instruments/concrete/display/?   vision-cameras)
 id=59678)                                      Blackﬂy (https://www.ptgrey.com/blackﬂy-
 Extech (http://www.extech.com)                 usb3-vision-cameras)
                                                Blackﬂy S (https://www.ptgrey.com/blackﬂy-s-
                                                usb3-vision-cameras)

 GAS DETECTION SYSTEMS (/ogi/)                  Chameleon3
                                                (https://www.ptgrey.com/chameleon3-usb3-
 FLIR GFx320 (/ogi/gfx320/)
                                                vision-cameras)
 FLIR GF304 (/ogi/display/?id=58334)
                                                Flea3 (https://www.ptgrey.com/ﬂea3-usb3-
 FLIR GF306 (/ogi/display/?id=55666)
                                                vision-cameras)
 FLIR GF309 (/ogi/display/?id=55667)
                                                All Area Scan cameras
 FLIR GF320 (/ogi/display/?id=55671)
                                                (https://www.ptgrey.com/Cameras)
 FLIR GF343 (/ogi/display/?id=66607)
                                                Ladybug Spherical Cameras
 FLIR GF346 (/ogi/display/?id=51857)
                                                (https://www.ptgrey.com/360-degree-
                                                spherical-camera-systems)
                                                Bumblebee Stereo Cameras
 AUTOMATION                                     (https://www.ptgrey.com/stereo-vision-

 (/automation/content/?id=65833)                cameras-systems)



 FLIR Compact A-Series (/automation/display/?
 id=56341)
 FLIR A300 / A310 (/automation/display/?



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 id=41099)
 FLIR A310pt / A310f (/automation/display/?
 id=56385)
 FLIR A310ex (/automation/display/?id=63398)
 FLIR A315 / A615 (/automation/display/?
 id=41330)
 FLIR AX8 (/automation/display/?id=65816)
 FLIR A6604 (/automation/display/?id=65823)
 FLIR G300pt (/automation/display/?id=65463)
 FLIR G300a (/automation/display/?id=65466)
 MIO (/automation/store/?id=84602)




                                              (http://www.ﬂir.com)

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